Case 08-14631-GMB   Doc 504-2 Filed 07/09/08 Entered 07/09/08 12:26:01   Desc
                    Exhibit B - Invoices - Fees Page 1 of 7
Case 08-14631-GMB   Doc 504-2 Filed 07/09/08 Entered 07/09/08 12:26:01   Desc
                    Exhibit B - Invoices - Fees Page 2 of 7
Case 08-14631-GMB   Doc 504-2 Filed 07/09/08 Entered 07/09/08 12:26:01   Desc
                    Exhibit B - Invoices - Fees Page 3 of 7
Case 08-14631-GMB   Doc 504-2 Filed 07/09/08 Entered 07/09/08 12:26:01   Desc
                    Exhibit B - Invoices - Fees Page 4 of 7
Case 08-14631-GMB   Doc 504-2 Filed 07/09/08 Entered 07/09/08 12:26:01   Desc
                    Exhibit B - Invoices - Fees Page 5 of 7
Case 08-14631-GMB   Doc 504-2 Filed 07/09/08 Entered 07/09/08 12:26:01   Desc
                    Exhibit B - Invoices - Fees Page 6 of 7
Case 08-14631-GMB   Doc 504-2 Filed 07/09/08 Entered 07/09/08 12:26:01   Desc
                    Exhibit B - Invoices - Fees Page 7 of 7
